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                                                                             USDC SDNY
                                                                             DOCUMENT
                                                                             ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                                 DOC #:
SOUTHERN DISTRICT OF NEW YORK                                                DATE FILED: 10/8/2024
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 PRIMITIVO ROBLES, on behalf of himself and :
 all others similarly situated,                                 :        24-CV-07521 (VEC)
                                                                :
                                              Plaintiff,        :       NOTICE OF INITIAL
                            -against-                           :     PRETRIAL CONFERENCE
                                                                :        FOR CASES FILED
                                                                :          UNDER THE
 MNG MISSOURI HOLDINGS LLC d/b/a CBD :                                  AMERICANS WITH
 KRATOM,                                                        :       DISABILITIES ACT
                                                                :
                                                                :
                                              Defendant. :
 -------------------------------------------------------------- X

VALERIE CAPRONI, United States District Judge:

        Counsel for all parties are directed to appear before the undersigned for an Initial Pretrial

Conference (“IPTC”) in accordance with Rule 16 of the Federal Rules of Civil Procedure on

February 7, 2025 at 10:00 a.m. in Courtroom 443 of the Thurgood Marshall Courthouse,

40 Foley Square, New York, New York, 10007.

        1.       The Defendant(s)’ time to move against or answer the Complaint is stayed

until the date of the IPTC, unless otherwise ordered.

        2.       Pursuant to section 2.C of the Court’s Individual Practices in Civil Cases, requests

to adjourn the IPTC or any other conference must be made in writing at least 48 hours before the

scheduled conference. The request must state (1) the reason for the proposed adjournment;

(2) the original date of the conference; (3) the number of previous requests for adjournment;

(4) whether the other party or parties consent and, if not, the reason given for refusing consent;

and (5) proposed alternative dates for the IPTC.
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       3.      Plaintiffs are encouraged to serve defendants promptly. Requests for

adjournment of the IPTC will not necessarily be granted on the ground that one or more

Defendants have not been served or answered prior to the scheduled IPTC.

       4.      No later than January 15, 2025, the parties must meet and confer for at least one

hour in a good-faith attempt to settle this case. To the extent the parties are unable to settle the

case themselves, the parties must also discuss whether further settlement discussions through the

District’s court-annexed mediation program or before this case’s assigned Magistrate Judge

would be helpful.

       5.      No later than January 30, 2025, the parties must submit a joint letter of no more

than five pages addressing the following in separate paragraphs:

       (1) a brief description of the case, including the factual and legal bases for their claim(s)

       and defense(s),

       (2) the basis for subject-matter jurisdiction,

       (3) any contemplated motions, and

       (4) the prospect for settlement, including

               (i) a confirmation that the parties have met and conferred consistent with

               paragraph 3, supra, and

               (ii) whether the parties request an immediate referral to either the court-annexed

               mediation program or the case’s assigned magistrate judge.

Should the parties indicate that such a referral would be beneficial, the Court will ordinarily refer

the case immediately to either the mediation program or a magistrate judge (consistent with the

parties’ stated preference) and adjourn the IPTC for sixty days or until the parties notify the

Court that settlement efforts have failed, whichever is earlier.



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       The parties must append to their joint letter a jointly proposed Civil Case

Management Plan and Scheduling Order. The parties are directed to consult the

undersigned’s Individual Practices in Civil Cases, which may be found on the Court’s website:

https://nysd.uscourts.gov/hon-valerie-e-caproni. The parties are directed to propose realistic and

workable deadlines for discovery. The deadlines proposed in the Court’s form Case

Management Plan are generally appropriate for most routine cases but may not be appropriate if

there is, for example, substantial third-party discovery or e-discovery anticipated. The parties

should assume that the deadline to complete fact discovery will not be extended absent very

good cause.

       6.      Before the date of the IPTC, counsel for each party must (1) register as a filing

user in accordance with the Procedures of Electronic Case Filing and (2) file a Notice of

Appearance.

       7.      Plaintiff’s counsel, or the defendant’s counsel in removed cases, is responsible for

distributing copies of this Notice to all parties. If the summons and complaint have already been

served (or, for removed cases, the notice of removal), counsel must distribute this Notice within

five days and file proof of such distribution within seven days of this Notice’s issuance. If the

summons and complaint have not yet been served, Plaintiff’s counsel may serve this Notice at

the same time as the summons and complaint.

       8.      Failure to timely comply with these procedures may result in sanctions under Fed.

R. Civ. P. 16(f), 28 U.S.C. § 1927, and/or the inherent powers of the Court.



SO ORDERED.
                                                          ________________________
                                                          ____________________  ______
Date: October 8, 2024                                        VALERIE CAPRONI
                                                                        CAPRON O I
      New York, New York                                   United States District Judge


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